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AO 455 (Rev. 01409) Waiver of an Indicenent

UNITED STATES DISTRICT COURT

 

 

 

 

 

 

 

 

for the US.

Northern District of Texas NORTHERN Disnareq oy TEXAS

FILED

United States of America ) JAN 27 2021

v. ) Case No. 2:21-CR-6-Z
) CLERK, U.S. DI STRICT COUR’
STEVEN ANTHONY REINHART ) BY 59 SD ’
Defendant )

 

WAIVER OF AN INDICTMENT

| understand that | have been accused of one or more offenses punishable by imprisonment for more than one
year. | was advised in open court of my rights and the nature of the proposed charges against me.

After receiving this advice, | waive my right to prosecution by indictment and consent to prosecution by
information.

Defendant's signature

 

e of defendant's atiorney

Printed name of defendant's attorney

Judge's signature

Judge's printed name and title

 
